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                    EXHIBIT A
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 Attorneys for Defendant, The Trustees
 of Princeton University
                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
                                   (Trenton)

 HIS ALL HOLINESS,                         Case No. 3:18-CV-17195-RK-DEA
 BARTHOLOMEW I, THE
 ARCHBISHOP OF
 CONSTANTINOPLE, NEW ROME,                 The Hon. Judge Robert Kirsch
 AND ECUMENICAL PATRIARCH,
 ET AL.
                                           DEFENDANT’S AMENDED
                Plaintiffs,                NOTICE OF DEPOSITION OF
                                           GEORGE K. PAPAZOGLOU
          vs.
 PRINCETON UNIVERSITY,

                Defendant.




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          Defendant, the Trustees of Princeton University (“Defendant”), hereby gives

 notice that, pursuant to this Court’s Orders dated November 22, 2022, June 22, 2023,

 and September 26, 2023, and Rule 30 of the Federal Rules of Civil Procedure,

 Plaintiffs shall produce Plaintiffs’ agent, Professor George K. Papazoglou for

 deposition upon oral examination on March 6, 2024, beginning at 12:00 PM Eastern

 European Standard Time.

          The deposition will be remote, will be taken before an officer authorized to

 administer the oath, shall be recorded by video and/or stenographic means, shall

 continue from day-to-day until completed or adjourned, and may be used as evidence

 at trial or other proceedings in the above-captioned matter. Defendant reserves the

 right to use said recordings at the trial of this action in accordance with Rules 28 and

 32 of the Federal Rules of Civil Procedure.

 Dated: January 19, 2024
                                         By: /s/ Samuel C. Sneed
                                         Samuel C. Sneed, Esq. (pro hac vice)
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                                     Attorneys for Defendant, The Trustees
                                     of Princeton University, incorrectly
                                     referenced in the Complaint as “Princeton
                                     University”




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                         CERTIFICATE OF SERVICE

          I certify that a copy of the foregoing DEFENDANT’S AMENDED NOTICE

 OF DEPOSITION OF GEORGE K. PAPAZOGLOU was served, via e-mail, this

 22nd day of January, 2024, upon the following:

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  Counsel for Plaintiffs

                                             /s/ Ronamay Sablan

                                             Ronamay Sablan




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